
45 So.3d 160 (2010)
In re Warren D. RUSH.
No. 2010-OB-2104.
Supreme Court of Louisiana.
September 28, 2010.

ORDER
Considering the Petition for Transfer to Disability Inactive Status filed by respondent, and the response thereto filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Warren D. Rush, Louisiana Bar Roll number 11545, be and he hereby is transferred to disability inactive status. All disciplinary proceedings against respondent shall be deferred until such time as he resumes active status.
Pursuant to Supreme Court Rule XIX, § 26(E), this order shall be effective immediately.
FOR THE COURT:
  /s/ John L. Weimer
  Justice, Supreme Court of Louisiana
